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CIVIL NON-JURY TRIAL OR MOTION HEARING                                            Date:   March 5, 2019
MINUTE SHEET

 UNITED STATES DISTRICT COURT                         Eastern District of Virginia - Richmond Division
 CASE TITLE                                           CASE NO: 3:18CV00723-HEH

 MALCOLM X. SHEPPARD                                  JUDGE: Hudson, SUSDJ
              v.
 THE VISITORS OF VIRGINIA STATE
 UNIVERSITY, et al.                                   COURT REPORTER: Harding, OCR


MATTER ON FOR:         (     ) Bench Trial (X) Motion Hearing (      ) OTHER:

APPEARANCES:               Plaintiff with counsel; defendants by counsel


TRIAL PROCEEDINGS:
WITNESSES EXCLUDED ON MOTION OF PLAINTIFF(S) (       ) DEFENDANT(S) (        ) COURT (   )
OPENING STATEMENTS MADE (     ) OPENING WAIVED (       )
PLAINTIFF(S) ADDUCED EVIDENCE (   ) RESTED (     ) MOTION (    ) ___________________________
DEFENDANT(S) ADDUCED EVIDENCE (      ) RESTED (    ) MOTION (       ) ________________________
REBUTTAL EVIDENCE ADDUCED (     ) SUR-REBUTTAL EVIDENCE ADDUCED (             )
EVIDENCE CONCLUDED (     ) ARGUMENTS OF COUNSEL HEARD (           )
FINDINGS OF FACT AND CONCLUSIONS OF LAW STATED FROM THE BENCH (            )
MATTER TAKEN UNDER ADVISEMENT BY THE COURT (         )
COURT FOUND IN FAVOR OF PLAINTIFF(S) (    ) MONETARY AWARD ____________________________
COURT FOUND IN FAVOR OF DEFENDANTS (       ) ______________________________________________
CLERK TO ENTER JUDGMENT ON DECISION (       )    TRIAL EXHIBITS RETURNED TO COUNSEL (       )
CASE CONTINUED UNTIL ____________________ AT _____________ .M. FOR ________________________



ADDITIONAL NOTATIONS:

Matter came on for hearing on Defendants’ Motion to Dismiss (CM/ECF no. 5).
Argument heard.
Motion taken under advisement by the Court; Memorandum Opinion to enter.
Initial Pretrial Conference to be held in chambers.



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Counsel for Plaintiff:

       • Scott G. Crowley, Esq.
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Counsel for Defendants:

       • Sandra S. Gregor, Esq. and Ronald N. Regnery, Esq.
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SET 10:00 a.m.       BEGAN 10:00 a.m.             ENDED 10:34 a.m.                TIME IN COURT 0:34
